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 8                              UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10     THE TRAVELERS INDEMNITY                    Case No. 8:24-cv-01913-CV-ADS
       COMPANY OF CONNECTICUT, a
11     Connecticut Corporation,
                                                  ORDER GRANTING EX PARTE
12                                                APPLICATION OF ALL PARTIES
                   Plaintiff,                     TO CONTINUE DATES AND
13                                                DEADLINES IN SCHEDULING AND
       v.                                         CASE MANAGEMENT ORDER
14
       MULHAUSER STEEL, INC., a                   [DOC # 40]
15     California Corporation; ANGELES
       CONTRACTOR, INC., a California
16     Corporation, and DOES 1 through 10,
       inclusive,
17
                    Defendants.
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            ORDER GRANTING EX PARTE APPLICATION TO CONTINUE DATES AND
                         DEADLINES IN SCHEDULING ORDER
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                                  #:501
Case 8:24-cv-01913-CV-ADS   Document 45   Filed 05/19/25   Page 3 of 3 Page ID
                                  #:502
